Case 1:00-cv-12455-MLW Document 175 Filed 01/30/06 Page 1 of 1

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

MICHELLE KOSILEK,
) Civil Action No. 00-12455 MLW

Plaintiff, )

)

Vv. )

}

KATHLEEN M. DENNEHY, )

Defendant.

)

NOTICE OF APPEARANCE

 

Please enter the appearance of Joseph L. Sulman of Dechert LLP for Plaintiff Michelle Kosilek in
the above captioned matter.

Dated: January 30, 2006

{sf Joseph L. Sulman
Joseph L. Sulman (BBO # 663635)

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ATTORNEY FOR PLAINTIFF
MICHELLE KOSILEK
CERTIFICATE OF SERVICE

I, Joseph L. Sulman, hereby certify that on this 30th day of January, 2006, a true and correct copy of the
Notice of Appearance was served upon counsel for Defendant by ECP.

January 30, 2006

{s/ Joseph L. Sulman
Joseph L. Sulman
